Case 1:19-mj-OlO42-KB|\/| Document 2 Filed 04/22/19 Page 1 of 1

AO 442 (Rev. lllll) Anestwarranl

UNITED STATES DISTRICT COURT

 

 

 

for the
Disu'ict of New Mexico
Unitecl States of America
v' ) o ,

Lany Mitcheu Hopkins case No. Q 4_QJ
aka Johnny Horton, Jr_ § ` Mj l 0

)

)

)

Defendant
ARREST WARRANT

To: Any authorized law enforcement officer

YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay

(Mm€ OfP€r-w" 10 be G"€Sf€d) Larry Mitchell Hopkins
who is accused of an offense or violation based on the following document filed with the court:

Cl Indictment l`_'l Superseding Indictment El Infonnation U Superseding lnformation ij Complaint
CI Probation Violation Petition EI Supervised Release Vio|ation Petition CI Violation Notice Cl Order of the Court

This offense is briefly described as follows:

Vlolation of 18 USC 18 U.S.C. § 922(g)(1), Felon in Possession of a Firearm and Ammunitjon.

Date: r O£ % M

issuing o[cer ’s signature

Cityandstate: Q_c C~»q~fc , NM §W"LQQ»'~IITB w€r`“&cf\[£\ U~<`.Mj'l"l_m'€..~l

Pr:'nted name and litle

 

Return

 

This warrant was received on (dare) , and the person was arrested on (da:¢)
at (city and srare,l

 

Date:

_____

 

Arrestr`ng swear ’.r signature

 

Primed name and rfer

 

 

d

